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1                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
2                               ATLANTA DIVISION
3
4       DONNA CURLING, et al.,
5              Plaintiffs,
                                                         CIVIL ACTION FILE
6              vs.
                                                         NO. 1:17-cv-2989-AT
7       BRAD RAFFENSPERGER, et al.,
8              Defendants.
9
10                                DEPOSITION OF
11                         J. ALEX HALDERMAN, Ph.D.
12                             November 17, 2021
13                                   8:03 a.m.
14                     TAKEN BY REMOTE VIDEOCONFERENCE
15             Robyn Bosworth, RPR, CRR, CRC, CCR-B-2138
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11                      Kevin Skoglund
12                      Duncan Buell
13                      Philip B. Stark
14                      Reema Shocair Ali
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1       between retail and electronic -- a broader
2       electronic fraud, though, you'd agree that fraud
3       perpetuated at a single BMD is more like hand-marked
4       paper ballot retail fraud, wouldn't you?
5              A     Again, I don't think they're -- I don't
6       think they're directly comparable because even a
7       single BMD might process a thousand ballots or more
8       during a given day, and with the same amount of
9       attacker effort, it would be quite a lot of work to
10      change the physical loads on a thousand pieces of
11      paper.
12             Q     So, Dr. Halderman, I know that you've
13      developed malware that affects DREs.                  We talked
14      about that earlier in the case.                  You developed
15      malware that affects BMDs, like the Dominion ICX
16      system.
17                   Have you ever developed any malware that
18      would alter votes on both a DRE, like the AccuVote
19      system previously used in Georgia, and Dominion ICX
20      units?
21             A     What do you mean?             The same piece of
22      malware?
23             Q     Yes, whether the same piece -- have you
24      ever developed the same piece of malware that would
25      alter votes both on an AccuVote DRE and on a

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1       Dominion ICX?
2              A     I'm -- no.
3              Q     You had access to both types of equipment,
4       though, correct?
5              A     They're two different platforms.               It's
6       like developing an app that would work on Android
7       and on the iPhone.         It could be done presumably, but
8       it would be -- you would normally have two different
9       apps that did the same thing.
10             Q     And you have never personally developed a
11      single app that would run on both the TSX platform
12      in the DREs and the ICX Dominion platform, right?
13             A     Oh, I see.        I think I see what you mean.
14      So, no, I've developed malware that would run on
15      each of them that could be presumably packaged
16      together by an attacker who wanted to commit fraud
17      on both, but I haven't packaged a -- different
18      versions together.
19             Q     Have you ever developed any malware that
20      would function to alter votes on both the GEMS
21      system, that's G-E-M-S, and the Dominion EMS system,
22      the same piece of malware?
23             A     No, but the same caveat that a program
24      that works on one and a program that works on the
25      other could be composed.             Programs compose

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1       naturally.      That's one of the sort of founding --
2       foundational principles of computer software.
3              Q     Would you need to know the platform on
4       which the Dominion ICX was running to be able to
5       package a piece of malware as you're describing it?
6              A     Yes, you'd need to know some things about
7       the ICX.
8              Q     And so if someone developed malware in,
9       say, 2005 or 2006 for a DRE, would someone be able
10      to also design that same piece of malware to
11      function on a Dominion ICX 15 years into the future?
12             A     Maybe not on a Dominion -- well, so the --
13      so no, but the attacker -- the way that attackers
14      more frequently work on infecting a first system is
15      to give themselves some way to more easily get back
16      in if they need to later continue the attack or make
17      changes or updates.
18                   So malware introduced at an earlier point
19      to equipment or an EMS would likely facilitate an
20      ongoing intrusion.
21             Q     But that would require a different piece
22      of software; is that a fair characterization?
23             A     Depending on the attacker's objectives, it
24      might.
25             Q     But you personally have not developed

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1       something that works in both the GEMS system and the
2       Dominion EMS, correct?
3              A     Well, they're both Windows systems, so it
4       would not be -- malware that ran on the GEMS system
5       very easily could continue to run on the Dominion
6       EMS system.
7              Q     And, again, my question was more specific.
8                    Have you personally developed such
9       software?
10             A     Oh, excuse me.          No.
11             Q     Now, Dr. Halderman, you've had access to
12      some AccuVote TSXs that were actually used in
13      Georgia elections, at least images of their internal
14      memory, correct?
15             A     That's correct.
16             Q     Have you found any evidence of malware
17      installed on those DRE images that you've reviewed?
18             A     I haven't.        It's difficult to completely
19      rule out because of the nature of malware; and,
20      moreover, I believe I've seen images of -- on the
21      order of 10 DREs out of the tens of thousands that
22      were used in Georgia.           So, unfortunately, even if
23      there was a widespread infection, I would have only
24      had a small probability of detecting it by
25      inspecting the images I was provided.

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1              Q     But to this point, you found no evidence
2       of malware in the images that you've reviewed,
3       right?
4              A     With those caveats, yes.
5              Q     Now, it's correct to say that you haven't
6       conducted any review of the -- and I will say review
7       any sort of technical forensic review of the eNet
8       voter registration system, correct?
9              A     Any forensic review?              Well, I have not
10      conducted a forensic review.               I've only been able to
11      confirm the vulnerabilities that were reported
12      publicly in 2018.
13             Q     And how did you confirm those
14      vulnerabilities?
15             A     Those were ones that were visible from
16      outside the system.
17             Q     And are you aware whether those
18      vulnerabilities related to the eNet system itself
19      or to some other component of the election system?
20             A     I believe they're related to the
21      public-facing voter registration and My Voter
22      Georgia pages, which are a component of the voter
23      registration system.
24             Q     So it's your testimony that the My Voter
25      page and the online voter registration pages that

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1       are publicly available are components of the State's
2       voter registration database eNet?
3              A     They're components of the voter
4       registration system.          I'm not sure where the
5       manufacturer defines the orders of its brand.
6              Q     You've also had available to you hundreds
7       of GEMS databases post election and pre election
8       from Georgia elections, correct?
9              A     That's right.
10             Q     And have you found any evidence of malware
11      in any of those GEMS databases that you've reviewed?
12             A     I haven't found evidence of malware, again
13      with the caveat that inspection is not a reliable
14      way of ruling out the presence of malware.                  It can
15      sometimes detect it, but it can't rule it out.
16      Instead what the databases reveal is a pattern of
17      procedural inconsistencies and so forth from
18      jurisdiction to jurisdiction that raise security
19      questions to me but are not indicative by themselves
20      of malware.
21             Q     And I want to ask you about a statement
22      you just made, "the inspection is not a reliable way
23      of detecting malware."
24                   Is that because malware can sometimes mask
25      its existence in a particular platform?

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1                                  CERTIFICATE
2       STATE OF GEORGIA:
        COUNTY OF FULTON:
3
4            I hereby certify that the foregoing transcript
        was taken down, as stated in the caption, and the
5       colloquies, questions and answers were reduced to
        typewriting under my direction; that the transcript
6       is a true and correct record of the evidence given
        upon said proceeding.
7            I further certify that I am not a relative or
        employee or attorney of any party, nor am I
8       financially interested in the outcome of this
        action.
9            I have no relationship of interest in this
        matter which would disqualify me from maintaining my
10      obligation of impartiality in compliance with the
        Code of Professional Ethics.
11           I have no direct contract with any party in
        this action and my compensation is based solely on
12      the terms of my subcontractor agreement.
             Nothing in the arrangements made for this
13      proceeding impacts my absolute commitment to serve
        all parties as an impartial officer of the court.
14
15             This the 3rd day of December, 2021.
16
17
18                    <%13609,Signature%>
19                    ROBYN BOSWORTH, RPR, CRR, CRC, CCR-B-2138
20
21
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